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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

 TYRONE CADE,                          §
                   Petitioner,         §
                                       §
 v.                                    § Civil No. 3:17-CV-03396-G-BT
                                       §
 LORIE DAVIS, Director,                § DEATH PENALTY CASE
 Texas Department of Criminal          §
 Justice, Correctional Institutions    §
 Division,                             §
                   Respondent.         §

        RESPONDENT’S SUR-REPLY TO PETITIONER’S REPLY

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                                    SUR-REPLY

       This is a habeas corpus case filed under 28 U.S.C. § 2254 by Petitioner

 Tyrone Cade. Cade has filed his amended petition, to which the Respondent

 has filed an answer. ECF Nos. 79, 82 (Answer). Cade has now filed a reply in

 which he asserts that he can overcome the procedural default of his

 unexhausted claims under Martinez v. Ryan, 566 U.S. 1 (2012), because his

 state habeas counsel were ineffective for failing to present those claims in state

 court. ECF No. 98 (Reply) at 15, 22–23, 32–33, 41–42. In support of his

 ineffective assistance of habeas counsel (IAHC) claims, he has also attached

 several new declarations from attorneys and investigators formerly employed

 by the Office of Capital and Forensic Writs (OCFW). 1 Appx. at 6782–814. As

 the Director was unable to address this evidence in her answer, she does so

 here. The Director incorporates by reference the anticipatory arguments made



 1 Cade also attaches a statement from Rhea Scott. Appx. at 6815–19. It is perplexing
 that Cade attaches a statement this late in the proceedings from a witness who
 testified at trial and also submitted a statement to state habeas counsel. 51 RR 31
 (ECF No. 69-51 at 31); 4.SHCR-02 at 303 (ECF No. 71-4 at 306). Cade only cites to
 this new declaration once, to show that Cade was abused and teased for his nocturnal
 enuresis. Reply at 46. As mentioned in the Director’s answer, even if trial counsel did
 not present this evidence, they did present ample evidence of Cade’s childhood abuse.
 Answer at 147–48. Scott provided an affidavit to habeas counsel also going into vivid
 detail regarding Cade’s tumultuous childhood. 4.SHCR-02 at 303–05. Habeas counsel
 also presented evidence of abuse due to Cade’s nocturnal enuresis at the evidentiary
 hearing. See infra p. 18. Therefore, additional evidence that Cade was sometimes
 abused for his nocturnal enuresis is cumulative both of what trial counsel and habeas
 counsel presented.



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 against Cade’s claims for cause and prejudice under Martinez raised in her

 answer. Answer at 40–42. While the Director limits her sur-reply to responding

 to these declarations, she does not concede any allegation or argument made

 in Cade’s petitions or reply. 2

       In support of claims four, eleven, and eighteen, Cade argues that state

 habeas counsel failed to present these claims in state court due to their

 inexperience, lack of funding, lack of resources, overburdened caseload, and

 lack of supervision. 3 Reply at 22–23, 32–33; 41–42. The Director responds to

 these allegations in the alternative with respect to claims four and eighteen, as

 the Director’s position is that these claims are properly exhausted, and the new

 evidence offered in support is barred by Cullen v. Pinholster, 563 U.S. 170, 181



 2 However, the Director will address Cade’s accusation that she “affirmatively
 misrepresents” the requirements of 28 U.S.C. § 1746 by stating that it requires a
 witness declaration be sworn. Reply at 1–2 (citing Answer at 45). Here, the Director’s
 argument was simply that the witness statements attached by Cade contained no
 declaration of truth in compliance with the statute—a point that remains
 uncontested. Id. at 2. Nevertheless, the Director concedes that her use of the phrase
 “sworn to” as a synonym for “certified,” “verified,” or “stated” in the context of a
 statutory provision dealing with unsworn declarations is confusing. To be clear, the
 Director does not maintain that such declarations must be formally “sworn.” Yet, the
 Director continues to assert that a verification of truth is required (and is lacking
 here). .

 3 The portions of the affidavits that reference any alleged lack of decorum during state
 habeas proceedings or general complaints about the state habeas process are
 irrelevant and not cognizable here. Appx. at 6798–801. See, e.g., Moore v. Dretke, 369
 F.3d 844, 846 (5th Cir. 2004) (“It is axiomatic that ‘infirmities in state habeas
 proceedings do not constitute grounds for federal habeas relief.’”) (quoting Duff-Smith
 v. Collins, 973 F.3d 1175, 1182 (5th Cir. 1992)).



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 (2011). 4 Moreover, while Cade does not cite to his newly presented evidence in

 support of his other unexhausted claims, see generally Reply, all arguments

 made in this sur-reply regarding the effectiveness of state habeas counsel

 apply to the procedural default of those claims. To the extent that the Director

 does not address each and every allegation found within Cade’s newly

 presented evidence, the Director generally denies all facts except those

 supported by the record and generally denies that the facts therein are

 indicative of the ineffectiveness of state habeas counsel.

 I.    The Martinez Standard

       An allegation of ineffective assistance of state habeas counsel invokes

 the narrow procedural default exception developed in Martinez and applied to

 Texas’s postconviction scheme in Trevino v. Thaler, 569 U.S. 413, 428 (2013),

 for “a single claim—ineffective assistance of trial counsel[.]” Davila v. Davis,

 137 S. Ct. 2058, 2062 (2017). To take advantage of the exception, an inmate

 must show “that (1) his state habeas counsel was constitutionally deficient in

 failing to include the claim in his first state habeas application; and (2) the

 underlying ineffective-assistance-of-trial-counsel claim is ‘substantial.’” Reed

 v. Stephens, 739 F.3d 753, 774 (5th Cir. 2014) (quoting Martinez, 566 U.S. at



 4Contrary to Cade’s argument, Reply at 20–21, 40, by arguing that the claims are
 exhausted, the Director does not thereby waive the right to assert a procedural
 default in the event this Court finds the claims unexhausted; the Director properly
 preserved her right assert such a bar in that scenario. Answer at 84, 165.

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 13–14). An ineffective assistance of trial counsel (IATC) claim is “substantial”

 when it “has some merit,” but “insubstantial” when “it does not have any merit”

 or is “wholly without factual support.” Martinez, 566 U.S. at 14, 16.

       A reviewing court looks to Strickland v. Washington, 466 U.S. 668 (1984),

 to determine whether state habeas counsel was ineffective. Martinez, 566 U.S.

 at 14. Therefore, to establish deficiency, an inmate must show that “counsel’s

 representation fell below an objective standard of reasonableness.” Strickland,

 466 U.S. at 688. There is a “strong presumption” that counsel’s representation

 was within the “wide range” of reasonable professional assistance. Id. at 689.

 An inmate’s burden is to show “that counsel made errors so serious that

 counsel was not functioning as the ‘counsel’ guaranteed the defendant by the

 Sixth Amendment.” Id. at 687.

 II.   General Complaints of Lack of Resources, Lack of Oversight,
       Heavy Caseloads, and Inexperience Are Insufficient to Prove a
       Claim of Ineffectiveness.

       Cade has attached six declarations to his reply from three former OCFW

 attorneys, Jeremy Schepers, Elizabeth Stewart, and Joanne Heisey, and three

 former OCFW investigators, Jamie Zapata, Adrian de la Rosa, and Elizabeth

 Aguirre, to bolster his Martinez claim. Appx. at 6782–814. These witnesses

 complain that OCFW did not properly train its attorneys or investigators,

 assigned attorneys or investigators too many cases that they were unprepared

 for, lacked necessary funding and resources, and did not provide guidance to


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 its employees. See generally id. However, a careful review of these statements

 suggests that—while the attorneys believe that OCFW is underfunded and

 understaffed and its attorneys are inexperienced and overworked—the

 attorneys do not appear to believe that they themselves, were professionally

 deficient. 5 See generally id.

       Limited resources do not establish that counsel were ineffective. See

 Harrington v. Richter, 562 U.S. 86, 107 (2011) (“Counsel [is] entitled to

 formulate a strategy that was reasonable at the time and to balance limited

 resources in accord with effective [ ] tactics and strategies.”). If anything, these

 statements and Cade’s associated argument appears to constitute an assault

 on the Texas system of postconviction representation—in particular, to the

 State’s allocation of resources to the public defender organization charged with

 representing indigent defendants in habeas proceedings. This is not really a

 Martinez argument, but more appropriately an argument under 28 U.S.C.

 § 2254(b)(1)(B)(ii) (excusing exhaustion when “circumstances exist that render

 such process ineffective to protect the rights of the applicant.”). Cade produces

 no Fifth Circuit precedent applying § 2254(b)(1)(B)(ii) wholesale to the Texas



 5 Despite these alleged obstacles, Cade’s current counsel apparently thought the state
 habeas work of De La Rosa and Aguirre to be adequate enough to hire them to work
 for the Western District Federal Public Defender. Appx. at 6807, 6810. Apparently,
 the Northern District Public Defender also believed Jeremy Schepers performed well
 enough for OCFW to become the supervisor for the Capital Habeas Unit of the
 Northern District Federal Public Defender. Appx. at 6782.

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 state postconviction system or OCFW in particular. This Court should decline

 Cade’s invitation to do so on its own initiative.

       Also, Cade’s attached statements wholly fail to tether the complaints

 therein to any discernable failure in representation. The declarants struggle to

 articulate how specific information was overlooked due to their alleged

 inexperience, lack of funding, lack of oversight, or overly large caseload. See

 generally Appx. at 6782–814. For example, Stewart complained that she was

 assigned Cade’s case to conduct the evidentiary hearing without being able to

 “learn the case,” thus overwhelming her and leading her to omit certain

 objections and arguments; however, Stewart does not indicate what these

 objections or arguments were. Appx. at 6789–90. Similarly, Heisey complains

 that she felt OCFW’s social history report on Cade was more aggravating than

 mitigating, with no explanation for her opinion that it simply relied on racial

 stereotypes. Id. at 6794. Cade’s investigators filed similarly vague affidavits.

 Jamie Zapata, Adrian De La Rosa, and Elizabeth Aguirre all complained that

 they were not properly trained in mitigation. Id. at 6803–05, 6807–08, 6811.

 But again, they fail to explain how this alleged failure in training and oversight

 affected Cade’s application specifically. See id.

       And where the witnesses do attempt to tie their complaints in with

 Cade’s representation, their attempts abjectly fail. For example, Jamie Zapata

 argues that then-OCFW Director Brad Levenson’s “hostility” negatively


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 impacted Cade’s application by undermining Heisey’s confidence and “slowing

 her progress.” Appx. at 6805. Such a conclusory and unsupported statement is

 inconsequential to the issue of habeas counsel’s effectiveness. Id. at 6792–802

 (the Director cannot find any mention of such hostility in Heisey’s declaration).

 Or, in De La Rosa’s example of assignments not being done in a timely manner,

 she recounts how she was surprised that no one had contacted a friend of

 Cade’s mother who remembered when Cade’s father attacked his mother with

 a hammer. Id. at 6808. However, even in this anecdote, De La Rosa contacted

 the friend and “she did in fact corroborate the account of the attack[.]” Id. at

 6808–09. De La Rosa’s competent performance as an investigator is not an

 example of habeas counsel’s ineffectiveness.

       Therefore, to the extent that Cade relies on these wholly conclusory

 assertions, his IAHC claims are without merit. Green v. Johnson, 160 F.3d

 1029, 1041 (5th Cir. 1998) (“[C]onclusory assertions of prejudice are

 insufficient to satisfy the second prong of Strickland.”).

       Regardless, prejudice cannot be shown in the absence of a reasonable

 probability that, but for state habeas counsel omitting a particular ground of

 error, relief would have been granted. Smith v. Robbins, 528 U.S. 259, 285

 (2000). As argued in the Director’s answer, Cade’s underlying IATC claims are

 wholly without merit. See generally Answer. Therefore, Cade fails to make the

 “substantial” showing required by Martinez that he was prejudiced by state


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 habeas counsel’s alleged deficiencies. 566 U.S. at 14 (requiring a showing “that

 the underlying [IATC] claim is a substantial one, which is to say that the

 prisoner must demonstrate that the claim has some merit”). He also therefore

 fails to make a showing of prejudice under Coleman v. Thompson, 501 U.S.

 722, 750 (1991); Martinez, 566 U.S. at 18 (remanding to address prejudice);

 Hernandez v. Stephens, 537 F. App’x 531, 542 (5th Cir. 2013), cert. denied,134

 S. Ct. 1760 (2014).

 III.   Habeas Counsel Were Not Deficient for Foregoing a Meritless
        State of Mind Defense (Claim four).

        In his fourth claim for relief, Cade argues that trial counsel were

 ineffective for failing to investigate a defense that negated Cade’s intent to

 commit murder by arguing that he was asleep at the time of the murders. Amd.

 Pet. at 50–70. Now, Cade argues that state habeas counsel were ineffective for

 failing to present that same alternative theory in state court. Reply at 22–23.

        Cade first notes that habeas counsel were unaware that Texas provided

 a legal defense at the guilt phase of trial, and therefore they were deficient. Id.

 at 22. In support, he cites to the declarations of Schepers and Heisey, who both

 concede they were unaware of Bradley v. State, 277 S.W. 147 (Tex. Crim. App.

 1925), when they prepared for Cade’s state application. Appx. 6785, 6795. This

 proves nothing. Even if habeas counsel were unaware of this specific case,

 presumably—and hopefully—Schepers and Heisey are aware “that a person



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 cannot be held criminal responsible for acts committed . . . while he or she is

 unconscious.” 22 C.J.S. Criminal Law: Substantive Principles § 130 (2019).

 Indeed, Texas has codified that very rule in its capital murder statute, by

 requiring a specific intent as an element of the offense. Tex. Penal Code

 §§ 19.02 (b), 19.03(a). Nothing in the attached statements dispels or refutes the

 presumption that Schepers or Heisey were aware that they could provide a

 complete defense to capital murder if they could show that Cade lacked the

 requisite intent. 6

       Rather, common sense likely deterred habeas counsel from presenting a

 theory so at odds with the evidence. As mentioned in the Director’s Answer,

 Cade never stated he fell asleep to anyone, 7 including law enforcement. Answer


 6 Bradley identifies somnambulism as a “species of insanity” and ignores any
 distinction between an affirmative defense and complete mens rea defense. Bradley,
 277 S.W. at 149 (“The legal consequences of somnambulism should be precisely those
 of insanity, which it so nearly resembles. The party should be exempt from
 punishment for his criminal acts.”) (quoting Bouvier’s Law Dict. (Rawle’s 3d Ed.) vol.
 3, p. 3091). Therefore, it is unclear how this case would even have stood for the
 proposition that a sleepwalking defense should have been chosen over an insanity
 defense at trial.

 7The only reference to Cade potentially falling asleep is in Proctor’s report, where he
 states that Cade told him he could not remember if he was tossing and turning or if
 he fell asleep. 54 RR SX 185 (page thirteen of report) (ECF No. 69-56 at 69). However,
 Proctor then testified that Cade told him he was tossing and turning because he could
 not sleep. 48 RR 168. (ECF No. 69-46 at 168). As far as the Director can find, no other
 expert, investigator, or attorney who worked on Cade’s trial or state habeas litigation
 notes that he ever mentioned falling asleep before the murders, and Cade points to
 no such evidence, instead incorrectly claiming that Cade’s “account to Dr. Victoroff
 was consistent with his account to Dr. Proctor.” See Reply at 27. This is refuted by
 Proctor’s note that Cade “acknowledged that at the time of the alleged offense he
 knew what he was doing was wrong[.]” 54 RR SX 185 (page fourteen of report).

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 at 77–78. Moreover, in his confessions to law enforcement, his written

 manifesto, and statement to Dr. Proctor, Cade mentions his motive and

 reasons for the stabbings. Id. According to Cade’s new evidence, his statements

 to state habeas counsel’s investigators were “generally consistent” with the

 statements he provided to law enforcement, which notably did not include his

 falling asleep before the murders. Appx. at 6814; Answer at 77–78. In fact,

 Those statements were apparently weighed heavily by state habeas counsel in

 their determination of what claims to present: “My recollection is that the

 operating assumption of the attorneys was that there were no guilt-innocence

 issues to investigate because Mr. Cade had confessed to killing the victims.”

 Appx. at 6812.

       But Cade protests that habeas counsel should have investigated his

 alleged mental illnesses and how they affected his actions at the time of the

 murders. See Reply at 22–23. Habeas counsel claim they were aware that Cade

 had reported hearing voices and was mentally ill. Appx. at 6784, 6788–89,

 6794. But OCFW was also aware that trial counsel had hired numerous

 experts, none of whom noted these supposed symptoms. Dr. McGarrahan, a

 neuropsychologist, testified that she did not note any brain damage,

 psychiatric issues, or psychological issues in Cade’s medical records. 47 RR 23,

 35–36. Dr. Lisa Clayton, a psychiatrist, had conducted an insanity evaluation

 of Cade and found that he was not insane, in part, because “he did not have a


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 severe mental illness.” 4.SHCR-02 at 189. Dr. Emily Fallis, a psychologist,

 concurred, finding that Cade did not suffer from a severe mental illness and

 knew his actions were wrong when he committed the offense. Id. at 192.

       Habeas counsel also presumably knew that Dr. Proctor had reported that

 Cade denied hearing voices and found that Cade had “no known history of

 severe mental health difficulties.” 54 RR SX 185 (pages eight and fourteen of

 report). In fact, when habeas counsel did develop evidence that Cade suffered

 from brain damage and traits of schizophrenia as part of their punishment

 phase IATC claim, the state habeas court rejected those diagnoses through

 explicit findings relying on the testimony of Dr. Proctor. 9.SHCR-02 at 741.

 Accordingly, OCFW’s policy of not wasting resources on cumulative experts

 appears eminently reasonable. Finally, while Dr. Victoroff argues that Cade’s

 “readily apparent” myoclonic jerks are indicative of a neurological disorder and

 are “so apparent that [the disease] does not require neurological training to

 detect,” Appx. at 6505–06, not a single expert, attorney, or investigator noted

 any such symptoms as far as the Director can find in the record. Victoroff

 himself posits that Cade’s movement disorder could have “post-dated Dr.

 Proctor’s examination.” Id. at 6506.

       In light of this mountain of evidence that Cade did not suffer from brain

 impairment and of Cade’s multiple confessions in which he never claimed to

 fall asleep before the murders, OCFW can hardly be faulted for choosing not to


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 “scour the globe” for an expert who would reach a conclusion without

 considering all countervailing evidence. See Rompilla v. Beard, 545 U.S. 374,

 383 (2005); see also Appx. at 6479 (Victoroff cautioning that he only relied on

 documents provided by counsel and did not review Cade’s entire medical and

 legal portfolio).

       State habeas counsel’s “winnowing out” this “weaker argument[] . . . far

 from being evidence of incompetence, is the hallmark of appellate advocacy.”

 Jones v. Barnes, 463 U.S. 745, 751–52 (1983); see Kossie v. Thaler, 423 F. App’x

 434, 437 (5th Cir. 2011) (appellate counsel “need not, and should not, raise

 every nonfrivolous claim, but rather should ‘winnow out weaker arguments’ to

 maximize the likelihood of success on appeal.”) (quoting Smith, 528 U.S. at

 288). In Ayestas, the Fifth Circuit noted that “[e]xperienced advocates since

 time beyond memory have emphasized the importance of winnowing out

 weaker arguments on appeal” and ultimately held that state habeas counsel

 was not ineffective for avoiding “claims likely to be barred as successive.”

 Ayestas v. Davis, 933 F.3d 384, 394 (5th Cir. 2019), cert. pet. filed. Similarly,

 OCFW was not ineffective here for forgoing a claim likely to be rejected due to

 the overwhelming evidence in the record.

        To the extent that OCFW did not seek an expert due to budgetary

 constraints, again, “[c]ounsel [is] entitled to formulate a strategy that was

 reasonable at the time and to balance limited resources in accord with effective


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 [ ] tactics and strategies.” Richter, 562 U.S. at 107. Habeas counsel reasonably

 chose not to waste resources manufacturing a claim that would conflict with

 their own client’s statements and the record. Such strategic decision-making

 is certainly not ineffective. Strickland, 466 U.S. at 690–91.

 IV.   Habeas Counsel’s Performance in Evaluating, Investigating, and
       Presenting Mitigating Evidence (Claim Eighteen) Was Not
       Ineffective.

       A.     Hiring of experts

       Cade’s allegation that “counsel made no attempt to retain experts[,]”

 Reply at 41, is refuted by the record. OCFW’s policy was to retain a

 neuropsychologist to review the battery of tests done at trial and ensure the

 tests were properly scored. Appx. at 6784. The record confirms that Dr.

 Underhill was hired to do just that. 9.SHCR-02 at 310 (ECF No. 71-9 at 317);

 4.SHRR at 8–9 (ECF No. 72-4 at 8–9). While Heisey complains that OCFW

 would not seek additional resources beyond the review of trial counsel’s expert,

 this policy was strategic, as OCFW then considered the “box was checked” for

 purposes collateral review. Appx. at 6793. Given limited funding, and the

 deference given trial counsel and its decision to hire experts, 8 it is certainly not



 8 See Segundo v. Davis, 831 F.3d 345, 352 (5th Cir. 2016) (counsel “should be
 permitted to rely upon the objectively reasonable evaluations and opinions of expert
 witnesses”); Dowthitt v. Johnson, 230 F.3d. 733, 748 (5th Cir. 2000) (counsel is not
 required to “canvass[] the field to find a more favorable defense expert”); see also
 Turner v. Epps, 412 F. App’x 696, 704 (5th Cir. 2011); cf. Hinton v. Alabama, 571 U.S.
 263, 275 (2014) (“The selection of an expert witness is a paradigmatic example of the

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 ineffective to forego expending resources on claims with lower prospects for

 success. See supra p. 12.

       Stewart concedes that, by the time of Cade’s evidentiary hearing, OCFW

 did allow the attorneys to develop mental health evidence. Appx. at 6788. In

 fact, they were permitted to call a psychiatrist, Dr. Silverman, to testify. Id. at

 6789. More than that, OCFW hired another neuropsychologist, Dr. Joan

 Mayfield, who reviewed the battery of tests conducted by Dr. McGarrahan. Id.

 at 6800. While Mayfield did not testify, according to Cade’s own proffered

 statements, she pointed out alleged misstatements made by the State’s

 experts. Id.

       The record shows the extent of Mayfield’s services. OCFW submitted a

 motion for funding to obtain the services of Dr. Mayfield on October 4, 2016.

 9.SHCR-02 at 304–08. The purpose of retaining Mayfield was to review testing

 by Dr. Price or Dr. Proctor, to consult with Dr. Silverman, or, “[d]epending on

 upon the results of her view of Dr. Price’s testing . . . to conduct her own

 neuropsychological testing of Mr. Cade.” Id. at 305. A later motion for funding

 reveals that Mayfield “conducted two full days of neuropsychological testing . .

 . scored the testing, and reviewed records.” Id. at 382.




 type of ‘strategic choic[e]’ that, when made ‘after thorough investigation of the law
 and facts’ is ‘virtually unchallengeable.’”) (citation omitted)).



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        In addition to this investigation, OCFW also developed mental health

 evidence through its expert Dr. Silverman. At the evidentiary hearing,

 Silverman reported Cade’s frontal lobe impairment, PTSD, and traits of

 schizophrenia. 4.SHRR at 72. At a later hearing date, Silverman was recalled

 after reading the reports of Dr. Price and Dr. Proctor. 6.SHRR at 8 (ECF No.

 72-6 at 8). At that date, Silverman testified that he believed Cade hears voices

 and reiterated that he suffers from traits of schizophrenia. Id. at 10–23.

 Silverman also testified that he consulted with Dr. Underhill and reviewed his

 underlying data in preparing his diagnosis. Id. at 58–59.

          Despite Cade’s baseless claim that OCFW did not have the benefit of

 expert      advice   and   testimony,   it   appears   OCFW     retained    two

 neuropsychological experts, one of whom conducted her own testing and both

 of whom advised in some capacity. It also appears that OCFW retained a

 psychiatrist who testified that Cade suffered from several of the very maladies

 alleged here in federal court. To the extent OCFW did not hire each and every

 expert Cade now proffers or present each and every articulable fact, such

 matters of degree are not grounds for ineffectiveness. Dowthitt, 230 F.3d at

 743.

        B.     Presentation of mitigating evidence through lay witnesses

        Cade also alleges that state habeas counsel failed to prepare and raise

 mitigating evidence that trial counsel should have presented at punishment.


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 Reply at 41. Among their general complaints, the state habeas personnel claim

 that they lacked a proper mitigation strategy and had difficulty coordinating

 with family members due to their overburdened caseload. Appx. at 6796–97.

       Cade’s state habeas application tells a radically different story. State

 habeas counsel clearly had a mitigation strategy, alleging that trial counsel

 were ineffective for failing to present mitigating evidence of Cade’s early life,

 adolescent years, and adult life. 4.SHCR-02 at 3 (ECF No. 71-4 at 6). Not only

 did OCFW thoroughly investigate this evidence, but they also presented

 substantially similar evidence that Cade brings here, including affidavits from

 Cade’s relatives, coaches, and a teacher, all attesting to the poverty, abuse, and

 neglect he encountered growing up. Id. at 152.

       In statements attached to Cade’s state application, relatives of Cade

 attested to Jerry Cade’s jealous, abusive, and bizarre behavior, including his

 physical abuse of Cade’s mother, Barbara. Id. at 291, 295, 299, 312. They noted

 that Cade was a witness to this abuse and other instances of inter-family

 violence. Id. at 311–12. Relatives also discussed Barbara’s abuse and neglect

 of Cade, as she would disappear from his life for weeks at a time to go out and

 party, forcing him to stay with his aunts. Id. at 291, 296, 299, 304. They noted

 the prevalent drug and alcohol use in Cade’s family. Id. at 291, 300, 303, 304,

 311. Cade’s family also discussed the impoverished conditions of his

 upbringing, including limited food, shelter, and utilities. Id. at 299–300, 304.


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 These conditions were apparent to Cade’s football coaches and his teacher. Id.

 at 308, 273, 277–78. Cade’s brother, Jerry Scott, provided live testimony of

 these living conditions at the evidentiary hearing. 5.SHRR at 18–59 (ECF No.

 72-5 at 18–59). At that hearing, OCFW also admitted a statement from Opal

 Grant, Cade’s paternal aunt, in which she also described the erratic behavior

 of Jerry Cade. 8.SHRR DX 48 (ECF No. 72-15 at 222–28).

       Through Cade’s relatives and chiropractor, OCFW presented evidence of

 Cade’s back pain as a significant stressor at the time of the murders. 4.SHCR-

 02 at 285, 288–89, 296, 304. They also presented ample evidence regarding the

 devastating impact of Cade’s football injury. Id. at 272–75, 277–78, 292, 296,

 300, 308; see also 8.SHRR DX 34 (ECF No. 72-13 at 532–99) (Floyd Barber

 Deposition).

       C.    Presentation    of   mitigating    evidence    through    expert
             witnesses

       State habeas counsel also presented mitigating evidence through expert

 testimony. First, OCFW presented a social history of Cade’s life prepared by

 Scott Bowman, a professor in criminal justice. 4.SHCR-02 at 155–80.

 Summarizing much of the turmoil in Cade’s upbringing and applying it to his

 expertise, Bowman concluded that, “[f]actors beyond Tyrone’s control,

 including but not limited to the absence of a consistent mother figure and the

 complete absence of any father figure, educational instability, and a school



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 environment that was more concerned about the athlete than the young man,

 all inexorably shaped him during his formative years.” Id. at 176.

        OCFW also proffered the testimony of social worker Laura Sovine at the

 evidentiary hearing, in which she offered a biopsychosocial assessment of

 Cade. 5.SHRR at 93. In preparation for her assessment, Sovine interviewed

 nine witnesses, including relatives, coaches, and teachers, and interviewed

 Cade for four hours. Id. at 128. She also read several parts of the reporter’s

 record and affidavits in preparation for her assessment. Id. at 128–29. In

 support of her assessment, Sovine noted Cade’s family history of mental

 illness, substance abuse, and violence. Id. at 134. She observed that Cade

 suffered neglect and abuse, witnessed violence, did not have food and

 supervision, was sexually abused, was mocked and beaten for his nocturnal

 enuresis, and was traumatized by the loss of a football career which had given

 him connections to resources and people unavailable in his home life. Id. at

 134–53. Sovine concluded that, “Tyrone was born into a extremely violent

 household, was exposed to extreme levels of trauma, depravation, abuse and

 neglect” and that while football provided “a few of the things he needed” that

 “support and social structure . . . went away and he wasn’t able to successfully

 complete the tasks to become a functioning adult.” Id. at 164.




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       D.    Presentation to state habeas court

       Having developed this evidence, OCFW then presented proposed

 findings of fact and conclusions of law, arguing that trial counsel were

 ineffective for failing to present this mitigating evidence at the punishment

 phase of trial. 9.SHCR-02 at 426–43. They also presented findings on how this

 childhood trauma could have impacted Cade’s mental health and development

 and therefore should have been presented at trial. Id. at 443–50. The proposed

 findings also addressed the testimony of Dr. Silverman, who testified that Cade

 exhibited symptoms of schizophrenia, PTSD, and brain damage. Id. at 451–56.

 Finally, OCFW also argued that more evidence of Cade’s back injury and

 stressors should have been presented. Id. at 456–57.

       E.    Conclusion

       As Cade’s state habeas counsel largely presented the same evidence

 Cade now presents in federal court, he fails to show that habeas counsel’s

 ineffectiveness gives cause to present claim eighteen. Indeed, several of the

 facts presented in Cade’s federal petition, including his predisposition to

 mental illness, a diagnosis of mental illnesses, his father’s erratic behavior, his

 turbulent upbringing, his back injury, his mental illnesses, and his lost football

 career, see generally Amd. Pet. at 121–80, were investigated, developed, and

 presented by state habeas counsel. Such cumulative evidence fails to show that




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 habeas counsel were ineffective. Wong v. Belmontes, 558 U.S. 15, 22 (2009);

 Coble v. Quarterman, 496 F.3d 430, 436 (5th Cir. 2007).

 V.    State Habeas Counsel Were not Ineffective for Forgoing a Claim
       That Trial Counsel Failed to Rebut Future Danger Evidence
       (Claim 11).

       Cade does not explain how habeas counsel’s performance deprived him

 of presenting claim 11—IATC for failure to rebut future dangerousness

 evidence—to the state habeas court. Rather, in a conclusory manner, he

 complains that the claim was not presented due to state habeas counsel’s lack

 of funding, supervision, experience, and flexibility. Reply at 32–33. As

 explained above, these general complaints do not establish that habeas counsel

 were ineffective. See supra Part II.

       Moreover, the conclusory nature of this argument does not rebut the

 presumption that counsel’s decision not to present this claim was reasonable.

 See Koch v. Puckett, 907 F.2d 524, 530 (5th Cir. 1990); see Green, 160 F.3d at

 1041. That presumption is only strengthened by habeas counsel’s thorough

 investigation into Cade’s background and mental health, in which they clearly

 uncovered much of the evidence presented in support of this claim—including

 Cade’s ongoing stressors at the time of the offense and his coachable demeanor

 during his football career. See supra Part IV. Habeas counsel likely did not

 present this claim because they recognized the frivolity of arguing that Cade’s

 crime was “out of character” given his disturbing criminal history of sexual


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 assault, aggravated assault, and homicide, among other things. See Answer at

 22–36. Statement of Facts Relating to Punishment. As Cade’s offered

 declarations are silent on that decision, he fails to “overcome the presumption

 that, under the circumstances, the challenged action might be considered

 sound strategy.” Strickland, 466 U.S. at 689 (quotation omitted).


                                    CONCLUSION

       For these reasons, Cade has failed to meet his burden under Martinez.

 Therefore, his unexhausted claims are procedurally defaulted. 9

                                             Respectfully submitted,

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                                             JEFFREY C. MATEER
                                             First Assistant Attorney General



 9 While the Director believes that the current record is sufficient to rebut Cade’s
 arguments and support the denial of relief, to the extent that the Court wishes to
 entertain granting relief or permitting factual development (either with respect to
 the default or the merits), the Director requests that the Court order Cade to divulge
 both OCFW’s and trial counsel’s files to the Director for evaluation. Cade has called
 into question the competence of both OCFW and trial counsel and has selectively
 submitted statements and filed materials to support his accusation. Cade cannot use
 privilege as a sword and a shield, and his IATC and IAHC claims constitute a waiver
 of his attorney-client privilege with respect to his accusations. Willy v. Admin. Review
 Bd., 423 F.3d 483, 497 (5th Cir. 2005) (“when a party entitled to claim the attorney-
 client privilege uses confidential information against his adversary (the sword), he
 implicitly waives its use protectively (the shield) under that privilege.”); United States
 v. Ballard, 779 F.2d 287, 292 (5th Cir. 1986); In re Medina, 475 S.W.3d 291, 302 (Tex.
 Crim. App. 2015). The Director should be allowed to review counsel’s relevant file
 materials to make any rebuttal arguments applicable.



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                        CERTIFICATE OF SERVICE

       I certify that on December 11, 2019, I electronically filed the forgoing
 pleading with the Clerk of the Court for the United States District Court,
 Northern District of Texas, using the electronic case-filing system of the Court.
 The electronic case-filing system sent a “Notice of Electronic Filing” to the
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